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                        UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

 JOHN J. JERUE (Dismissed) and
 MICHAEL J. FEIST,

        Plaintiffs,

 v.                                          Case No. 8:17-cv-00587-TPB-AEP

 DRUMMOND COMPANY, INC.

      Defendant.
 ____________________________________________

           DRUMMOND COMPANY, INC.’S NOTICE OF FILING
      THE SUPPLEMENTAL DECLARATION OF FREDERICK J. GRADY

        NOTICE IS HEREBY GIVEN that Defendant, Drummond Company, Inc.,

 files the attached Supplemental Declaration of Frederick J. Grady.

        Dated: January 24, 2022.

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